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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF DELAWARE


 In Re Google Inc. Cookie Placement             )
 Consumer Privacy Litigation                    )       Civ. No. 12-MD-2358-SLR
                                                )
       This Document Relates To:                )
        All Actions                             )


                        Memorandum of the Kreisman Plaintiffs in Support
          of their Rule 23(g) Motion for Appointment of Interim Co-Lead Class Counsel

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 1
     Ben Barnow is registered for electronic filing and noticing in this MDL.
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        Plaintiffs Karin Kreisman, Keile Allen, Joseph F. Clark, Nicholas Todd Heinrich, Kevin

 Jacobsen, Michael Musgrove, Jason Oldenburg, and James Treis (“Kreisman Plaintiffs”), by and

 through their undersigned counsel, hereby move this Honorable Court, pursuant to Rule 23(g) of

 the Federal Rules of Civil Procedure, for the appointment of Ben Barnow of Barnow and

 Associates, P.C., Lance A. Harke of Harke, Clasby & Bushman LLP, and Richard L. Coffman of

 Coffman Law Firm (collectively, “Rule 23(g) Applicants”) as Interim Co-Lead Class Counsel.


 I.     INTRODUCTION

        On June 12, 2012, the United States Judicial Panel on Multidistrict Litigation transferred

 eight (8) actions pending in eight different districts to this Court. Other actions identified as tag-

 along actions have also been transferred to the Court. Twenty-one (21) actions have been

 consolidated into this action for all pretrial purposes. See MDL D.I. 22 (Stipulation and Order

 Consolidating Cases for All Purposes).

        On August 28, 2012, certain plaintiffs (self-styled as the “Moving Plaintiffs”), by and

 through their counsel, filed a Motion for Consolidation Pursuant to Fed. R. Civ. P. 42(a) and

 Appointment of Interim Class Counsel Pursuant to Fed. R. Civ. P. 23(g), which seeks

 appointment of some of their counsel to an Executive Committee and others as members of a

 Plaintiffs’ Steering Committee (hereinafter, the “Grygiel Group”). See MDL D.I. 27. Rule 23(g)

 Applicants regret that a more inclusive if not universal agreement amongst counsel was not

 developed and presented to the Court, but such is not an infrequent occurrence when there is not

 a meeting or other serious review by counsel to deliberate and consider the experience, interest,

 and capabilities of available attorneys. A court’s review and scrutiny under Rule 23(g) protects

 against the failure of any attorney-determined grouping to meet the purposes of Rule 23(g).



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         The 2003 Advisory Committee Notes on Rule 23(g) state that: “Subdivision (g) . . .

 responds to the reality that the selection and activity of class counsel are often critically

 important to successful handling of a class action. . . . This subdivision recognizes the

 importance of class counsel, states the obligation to represent the interest of the class, and

 provides a framework for selection of class counsel.” While self-determined groupings of

 attorneys can be considered, ultimately the choice is that of the Court. See, e.g., Manual for

 Complex Litig. (the “Manual”) § 21.271 (4th ed.) (“If there are multiple applicants, the court’s

 task is to select the applicant best able to represent the interests of the class.”).

         Rule 23(g) Applicants suggest that the Court consider the appointment of attorneys to

 leadership positions who are experienced in this particular type of litigation, who are well-

 equipped to handle such cases, who have demonstrated leadership capabilities in MDL actions,

 and who propose a leadership structure compatible with proceeding in an orderly and efficient

 manner. These attorneys include the following: Ben Barnow of Barnow and Associates, P.C.;

 Lance A. Harke of Harke, Clasby & Bushman LLP; and Richard L. Coffman of Coffman Law

 Firm. The resumes of each are attached hereto as Exhibits A, B and C, respectively. Plaintiffs’

 counsel supporting this proposed leadership structure include Hassan A. Zavareei, Tycko &

 Zavareei LLP; Shpetim Ademi, Ademi & O’Reilly, LLP; Aron D. Robinson, Law Office of Aron

 D. Robinson; John S. Steward, Steward Law Firm, LLC; Stephen F. Meyerkord, Meyerkord &

 Meyerkord, LLC; and John R. Wylie, Donaldson & Guin, LLC (“Supporting Plaintiffs’

 Counsel”). The resumes of each are attached hereto as Exhibits D through I, respectively. These

 attorneys individually and collectively have broad class action leadership experience, including,

 inter alia, privacy litigation and data breach litigation. While Rule 23(g) Applicants and the

 Supporting Plaintiffs’ Counsel believe that the approach they offer is more efficient and better


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 than the structure proposed by the Grygiel Group (or “Moving Plaintiffs”), they respectfully

 acknowledge that appointment rests with the Court. It is suggested that leadership appointments

 are best served by a court reviewing the experience of each attorney, and Rule 23(g) Applicants

 welcome such individualized scrutiny.

        In summary, Rule 23(g) Applicants propose a structure whereby three (3) attorneys from

 their group—Ben Barnow of Barnow and Associates, P.C., Lance A. Harke of Harke, Clasby &

 Bushman LLP, and Richard L. Coffman of Coffman Law Firm—be appointed Interim Co-Lead

 Class Counsel. Supporting Plaintiffs’ Counsel, as well as other interested plaintiffs’ counsel, will

 be given appropriate assignments by Interim Co-Lead Class Counsel as proper and necessary for

 the efficient advancement of the litigation.

        Alternatively, and in recognition of the many fine attorneys who have applied for

 appointment in this matter, albeit with different degrees of experience and knowledge in this

 area, it is suggested that the Court could select one or two attorneys from each moving group to

 serve as Interim Co-Lead Class Counsel. The Interim Co-Lead Class Counsel so selected would

 be authorized to efficiently manage the litigation and utilize the availability and skills of other

 plaintiffs’ counsel as the needs of the litigation require. The credentials of Rule 23(g) Applicants

 are set forth below.

 II.    PROPOSED INTERIM CO-LEAD CLASS COUNSEL

        A. Ben Barnow, Barnow and Associates, P.C.

        Ben Barnow of Barnow and Associates, P.C., specializes in the prosecution of complex

 class actions, including those related to privacy, data breach, consumer and antitrust claims. Over

 a period of many years, Mr. Barnow has taken a leading role in many federal and state consumer

 fraud class actions throughout the United States. He has significant experience in serving as Lead


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 Class Counsel or Co-Lead Class Counsel in complex consumer class actions and multidistrict

 litigation proceedings. Mr. Barnow has obtained the certification of litigated classes in a number

 of cases, including privacy breach cases consisting of approximately 40 million and 70 million

 class members each: Bovay et al. v. Sears, Roebuck & Co., No. 01-CH-18096 (Cir. Ct. Cook

 Cnty. Ill.); Busse et al. v. Motorola, Inc. et al., No. 95-CH-10332 (Cir. Ct. Cook Cnty. Ill.). See

 Class Certification Orders, Exhibits J and K, respectively. His efforts also include what is

 believed to be the largest number of successfully completed consumer data breach class actions:


     •   In re TJX Cos. Retail Security Breach Litigation (Consumer Track). This MDL

         was a data breach case involving the theft of approximately 45,000,000 credit and

         debit card numbers used at TJX stores and the personal information of over

         450,000 TJX customers. As one of Co-Lead Settlement Class Counsel, Mr.

         Barnow took the lead in negotiating a settlement with TJX. The Honorable Judge

         Young granted final approval to the settlement, which he referred to as

         “excellent” and as containing “innovative” and “groundbreaking” elements. 2 Mr.

         Barnow initiated the settlement discussions in this matter, developed a co-

         leadership structure, and along with his two co-lead counsel, successfully

         concluded a historic settlement for data breach cases.

     •   In re Countrywide Financial Corp. Customer Data Security Breach Litigation.

         This MDL proceeding was a forty-case data breach matter involving claims

         relating to a former Countrywide employee’s theft and sale of millions of

 2
  See Judgment In re TJX Cos. Retail Sec. Breach Litig., No. 07-10162-WGY, MDL No. 1838
 (D. Mass. Sept. 2, 2007) (granting final approval of settlement); Transcript of Proceedings at 6,
 In re TJX Cos. Retail Sec. Breach Litig., No. 07-10162-WGY, MDL No. 1838 (D. Mass. Sept.
 27, 2007); Transcript of Fairness Hearing at 8-9, 18, In re TJX Cos. Retail Sec. Breach Litig.,
 No. 07-10162- WGY, MDL No. 1838 (D. Mass. July 15, 2008).
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        Countrywide customers’ private and confidential information. As one of Co-Lead

        Settlement Class Counsel, Mr. Barnow negotiated a settlement that made

        substantial benefits available to approximately 17 million Settlement Class

        Members. The settlement has been granted final approval by the Court. See In re

        Countrywide Fin. Corp. Customer Data Sec. Breach Litig., No. 3:08-MD-01998,

        MDL No. 1998, 2010 WL 3342100 (W.D. Ky. Aug. 23, 2010). In granting final

        approval to the settlement, the Honorable Chief Judge Russell noted that “Co-

        Lead Settlement Counsel are nationally recognized in the field of class actions,

        particularly those involving security breaches,” and stated that “the Court was

        impressed with Co-Lead Counsel and Countrywide counsels’ knowledge and

        skill, as represented in the various motions and hearings that took place

        throughout this settlement process.” Id. at *11. Mr. Barnow’s role was pervasive

        in the case, where he presented all court motions, including the motions for

        preliminary approval and final approval.

    •   Lockwood v. Certegy Check Services, Inc. This proceeding related to the theft of

        approximately 37 million individuals’ private and confidential information from

        Certegy Check Services, Inc.’s computer databases. As one of Co-Lead

        Settlement Class Counsel, Mr. Barnow organized all counsel and pending cases

        without the benefit of an MDL and negotiated a settlement that was granted final

        approval. See Judgment Lockwood v. Certegy Check Servs., No. 8:07-cv-1657-T-

        23TGW (M.D. Fla. Sept. 8, 2008). At the final fairness hearing, the Honorable

        Judge Merryday described the settlement as a “good deal,” providing “a real

        benefit to a large class of persons” as “the result of the focused attention of skilled


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        counsel for a protracted time.” Transcript of Final Fairness Hearing at 20,

        Lockwood v. Certegy Check Servs., Inc., No. 8:07-cv-1657-T-23TGW (M.D. Fla.

        Aug. 22, 2008). Here, Mr. Barnow and his two co-lead counsel organized all

        pending cases and secured a favorable settlement without the necessity of an

        MDL proceeding.

    •   Rowe v. Unicare Life and Health Ins. Co. Mr. Barnow was Lead Counsel in this

        data breach case relating to the defendants’ alleged failure to secure the private

        health information of certain individuals enrolled in the defendants’ health

        insurance plans, which resulted in the information being accessible to the public

        via the Internet. Mr. Barnow negotiated a settlement that was granted final

        approval by the Court. At the preliminary approval hearing, the late Honorable

        Judge Hibbler referred to the efforts of the parties as “exemplary.” Transcript of

        Oral Argument at 9, Rowe v. Unicare Life & Health Ins. Co., No. 09-CV-2286

        (N.D. Ill. May 19, 2011).

    •   In re Heartland Payment Systems, Inc. Customer Data Security Breach

        Litigation. This MDL data breach case involved the theft of more than 120

        million credit and debit card numbers and is believed to be the largest data breach

        to date. As one of Co-Lead Settlement Class Counsel for the Consumer Track,

        Mr. Barnow initiated settlement discussions in this matter, developed a co-

        leadership structure, and along with his two co-lead counsel, successfully secured

        a settlement for the Consumer Track class. In re Heartland Payment Sys., Inc.

        Customer Data Security Breach Litig., No. 4:09-md-02046 (S.D. Tex.).




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        In addition to this substantial experience in leading the successful prosecution of

 consumer data breach cases, Mr. Barnow has also been appointed to leadership positions in a

 number of other complex consumer class actions and multidistrict litigation proceedings, where

 he has served as lead and co-lead counsel with many firms across the country. 3 For example, Mr.

 Barnow was one of Co-Lead Settlement Class Counsel in Schulte v. Fifth Third Bank, where he

 and his co-lead counsel achieved a settlement providing for a $9.5 million settlement fund and

 substantial injunctive relief valued at more than $50 million. Schulte v. Fifth Third Bank, No. 06-

 cv-06655, 2011 WL 3269340 (N.D. Ill. July 29, 2011). Mr. Barnow also served as one of Co-

 Lead Class Counsel in the Arkansas, Kansas, South Dakota and Wisconsin Microsoft civil

 antitrust cases, each of which settled and was granted final approval by the respective courts. In

 the Wisconsin Microsoft case, prior to reaching a settlement that has been valued at

 approximately $224 million and granted final approval, Mr. Barnow and his co-counsel

 successfully petitioned the Wisconsin Supreme Court to recognize the right of indirect

 purchasers to recover under Wisconsin’s antitrust laws. See Olstad v. Microsoft Corp., 700

 N.W.2d 139 (Wis. 2005). 4 In yet another indirect purchaser antitrust case, he was appointed as a



 3
  For instance, Mr. Barnow was one of Co-Lead Counsel and developed, advanced and gained
 final approval of settlements in the America Online Access Litigation, Schwab v. America
 Online, Inc., No. 96 CH 13732 (Cir. Ct. Cook Cnty., Ill.) and the McDonald’s Sweepstakes
 Litigation, Boland v. McDonald’s Corp., No. 01 CH 13803 (Cir. Ct. Cook Cnty., Ill.). The
 McDonald’s Sweepstakes settlement included numerous countries. Along with his Co-Lead
 Counsel, he also led more than thirty (30) firms and developed and gained final approval of a
 settlement in In re M3Power Mktg. & Sales Practices Litig., No. 05-11177, MDL No. 1704 (D.
 Mass.).
 4
   Mr. Barnow was also appointed to the nine-member Plaintiffs’ Lead Counsel Committee in the
 Microsoft civil antitrust MDL proceeding before the Honorable Frederick Motz in the U.S.
 District Court for the District of Maryland. He was also lead counsel in six individual states. In
 the six state cases where he was a lead counsel, litigated classes were certified in three of those
 and four of the cases were successfully settled.
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  Co-Lead Class Counsel in In re: Photochromic Lens Antitrust Litigation, No. 8:10-MD-2173-

  JDW-EAJ (M.D. Fla).

          Recently, Mr. Barnow was appointed to the Plaintiffs’ Steering Committee by the

  Honorable Anthony J. Battaglia in In re: Sony Gaming Networks and Customer Data Security

  Breach Litigation, No. 3:11-md-02258-AJB-MDD (S.D. Cal.) [D.I. 60]. Mr. Barnow’s

  appointment came after a hotly contested appointment process, in which more than fifteen (15)

  qualified attorneys and their respective law firms sought appointment amidst a sea of more than

  sixty (60) filed cases.

          B. Lance A. Harke, Harke, Clasby & Bushman LLP

          Mr. Harke has served as Lead Class Counsel or as a member of the Plaintiffs’ Steering

  Committee in numerous class actions and has obtained over $225 million for consumers in both

  mass tort and class action litigation. Most recently, Mr. Harke was appointed by the Honorable

  Robert N. Scola, Jr., as co-lead counsel for a certified class of Florida consumers who were

  overcharged by their mortgage lender for force-placed insurance coverage. Williams v. Wells

  Fargo Bank, N.A., No. 11-21233-CV-SCOLA/BANDTSRA (S.D. Fla.). The Williams case

  remains pending and is set for trial on July 29, 2013. In addition, Mr. Harke served as Lead

  Counsel in Kenneth F. Hackett & Associates, Inc. v. GE Capital Information Technology

  Solutions, Inc., No.: 10-20715-CIV-ALTONAGA/BROWN (S.D. Fla.). This action resulted in a

  multi-million dollar settlement on behalf of a nationwide class of copier lessees whom were

  overcharged for their monthly payments.

          In Marguerite Miles, et al. v. America Online, Inc., Case No. 8:00cv273-T-24C, (M.D.

  Fla. 2000), Mr. Harke acted as primary counsel for consumers against America Online, Inc. for




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  violations of the Computer Fraud and Abuse Act (“CFAA”), where he obtained favorable rulings

  on issues of first impression under the CFAA and ultimately successfully settled the matter.

         Mr. Harke was one of three Co-Lead Settlement Class Counsel, along with Mr. Barnow,

  in Lockwood et al. v. Certegy Check Servs., Inc., No. 07-cv-1434 (M.D. Fla.), appointed by the

  Honorable Steven D. Merryday. This action resulted in a multi-million dollar recovery for the

  class of affected consumers whose personal information was stolen by a computer hacker. Mr.

  Harke also served as Co-Lead Counsel along with Mr. Barnow in In Re: Heartland Payment

  Systems, Inc. Customer Data Security Breach Litigation, No. H-09-MD-2046 (S.D. Tex.). This

  action was the largest data breach multidistrict litigation in history, consisting of over one

  hundred million class members, and resulted in an excellent settlement on behalf of the

  Consumer Track Plaintiffs.

         Mr. Harke was appointed along with Mr. Barnow as Co-Lead Class Counsel in In re:

  Photochromic Lens Antitrust Litigation, No. 8:10-MD-2173-JDW-EAJ (M.D. Fla), representing

  indirect purchaser plaintiffs in an antitrust class action involving Transitions Optical, Inc.’s

  photochromic lenses. Further, in Francis v. Serono Laboratories, Inc., et al. (“Serostim”), No.

  06-10613 PBS (D. Mass.), as Co-Class Counsel, Mr. Harke obtained a $24 million cash

  settlement in a nationwide class action litigation regarding the deceptive and illegal marketing,

  sales and promotional activities for the AIDS wasting prescription drug Serostim. In Perez v.

  Asurion Corp., No. 06-20734-CIV-SEITZ/MCALILEY (S.D. Fla.), the Honorable Patricia Seitz

  commented that “Class Counsel Harke & Clasby also has experience in class action litigation,

  particularly in consumer class actions, having represented plaintiffs in nationwide class actions

  including consumer product and deceptive marketing class actions and other complex, large-

  scale litigations throughout the United States in both state and federal courts.” See Order


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  Granting Class Counsel’s Motion in Support of Request for Attorneys’ Fees and Costs and

  Incentive Awards to Named Plaintiffs, Perez v. Asurion Corp., No. 06-20734-CIV-

  SEITZ/MCALILEY (S.D. Fla. Aug. 8, 2007).

         In December 2008, The South Florida Daily Business Review named Harke Clasby &

  Bushman, LLP as one of South Florida’s Top Litigation Shops of 2008. Mr. Harke was also

  selected as one of South Florida’s Most Effective Litigators for 2008 by The South Florida Daily

  Business Review. Further, Mr. Harke has been named a Super Lawyer by Florida Super Lawyers

  Magazine multiple times.

         Mr. Harke is currently serving as President for the Legal Services of Greater Miami, as

  well as Vice-President and Trustee for the Greater Miami Shores Chamber of Commerce. He is

  also a Trustee of Temple Israel of Greater Miami and an officer in the Miami Shores Bar

  Association. Mr. Harke was recently named 2011 Citizen of Year for Miami Shores Village.

         C. Richard L. Coffman, Coffman Law Firm

         Richard L. Coffman has significant national and regional class action and mass action

  leadership and logistic experience in courtrooms across the United States. On the data breach

  front, Mr. Coffman was recently appointed to be one of two Interim Lead Counsel in In Re:

  Science Applications International Corporation (SAIC) Backup Tape Data Theft Litigation,

  MDL 2360 (D.D.C.) [D.I. 14]. Mr. Coffman also is one of three Interim Co-Lead Class Counsel

  appointed by the court to represent the Financial Institution Track plaintiffs in In re Heartland

  Payment Systems, Inc. Customer Data Security Breach Litigation, MDL No. 2046 (S.D. Tex.), a

  data breach case involving the theft of over 120 million credit and debit card numbers. Mr.

  Coffman also worked with Mr. Barnow on the TJX, Certegy and Countrywide data breach cases




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  and, as part of drafting the Countrywide settlement agreement, researched and developed a

  provision regarding enhanced accessibility of the settlement website.

         In non-data breach cases, Mr. Coffman currently is counsel for the Nevada indirect

  purchaser class representative in In re TFT-LCD (Flat Panel) Antitrust Litigation, MDL No 1827

  (N.D. Cal.), which recently settled for approximately $1.1 billion. Mr. Coffman also represents

  one of the lead direct purchaser class representatives in In re Aftermarket Filters Antitrust Litig.,

  MDL No. 1957 (N.D. Ill.) (price fixing). Mr. Coffman also is co-counsel for the plaintiffs in

  Quebedeaux v. United States; No. 1:11-cv-00389-FMA (Ct. Fed. Cl.), an unconstitutional

  takings class action on behalf of business and property owners in a 4600 square mile area of the

  Atchafalaya River basin in south central Louisiana whose property and businesses were damaged

  and/or destroyed by floodwaters when the Government opened the Morganza Spillway on the

  Mississippi River in May 2011.

         In the recent past, Mr. Coffman was appointed to serve as interim co-lead class counsel in

  In re: Nissan North America, Inc. Odometer Litigation, MDL No. 1921 (M.D. Tenn.) (defective

  odometers) and co-lead class counsel in Wilson v. Texas Windstorm Insurance Association, No.

  09-CV-0421 (56th Jud. Dist. Ct. of Galveston Cnty., Tex.). The Wilson case was a class action

  and mass action on behalf of over 2000 property owners on Bolivar Peninsula in Galveston

  County, Texas, whose homes were completely destroyed by Hurricane Ike. Mr. Coffman and his

  co-counsel secured approximately $175 million of additional insurance benefits for the Wilson

  property owners. Mr. Coffman also represented, as counsel of record or of counsel, nine of the

  court appointed state indirect purchaser class representatives in In re Static Random Access

  Memory (SRAM) Antitrust Litigation, MDL No. 1819 (N.D. Cal.), which settled for over $41

  million.


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         In the past, Mr. Coffman also served as lead counsel or co-lead counsel in other national

  class actions, including In re Citigroup, Inc., Capital Accumulation Plan (CAP) Litig., MDL No.

  1354 (D. Mass.) (forfeiture of earned compensation accumulated by securities brokers in an

  employee benefit plan); Robert Castro, Jr. v. PaineWebber, Inc., No. 1:94CV65 (E.D. Tex.)

  (securities fraud involving a limited partnership investment); Ronald E. Choinacki v. American

  Home Products Corporation, No. 2:98CV3573 (D.N.J.) (underpaid lump sum pension benefits)

  and Belinda Myers-Garrison v. Johnson & Johnson, No. 9:97CV0087 (E.D. Tex.) (underpaid

  lump sum pension benefits).

         On the mass action front, Mr. Coffman currently represents over 900 Texas, Louisiana

  and Arkansas rice producers against Bayer CropScience for contaminating the U.S. long grain

  rice seed stock with genetically engineered rice in In re Genetically Modified Rice Litigation,

  MDL No. 1811 (E.D. Mo.). This litigation recently settled for $750 million. Mr. Coffman also

  represents (i) a group of pharmacies, dentists, churches and other medium sized to large

  businesses in connection with their BP oil spill claims, and (ii) a group of chain grocery stores

  and grocery wholesalers asserting individual price fixing claims against the major chocolate

  manufacturers in In re Chocolate Confectionary Antitrust Litigation, MDL No. 1935 (M.D. Pa.).

  In the past, Mr. Coffman was co-lead counsel for a group of 200 chain drug stores and chain

  grocery stores with over 1100 retail locations that opted-out of In re Brand- Name Prescription

  Drug Antitrust Litigation, MDL No. 997 (N.D. Ill.).


         D.      Liaison Counsel

         The role of liaison counsel has arguably been reduced in view of emails and the

  electronic filing system (“ECF”). However, if the Court believes the appointment of Liaison

  Counsel to be appropriate, any selection the Court so chooses is, of course, acceptable.

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  III.   A BRIEF COMPARISON OF RULE 23(g) APPLICANTS TO THE GRYGIEL
         GROUP

         Once the initial and often-occurring “posturing” of attorneys involved in MDL

  appointments subsides, collegiality generally rises above the previous perceived reasons for

  dissension or disagreement. That said, on the path being traveled here, the Grygiel Group has

  made a number of comparative representations and claims of preparatory activity that are likely

  intended to be relied upon by the Court in assessing counsel for appointment to leadership

  positions. In that regard, some clarifications are warranted.

         The Grygiel Group sets forth the resumes and credentials of a number of attorneys in

  their group. What they have presented is basically the original group with which they advanced

  their various filings in the case. Two other firms, Strange & Carpenter, a proposed member of an

  Executive Committee, and Seeger Weiss LLP, a proposed member of Plaintiffs’ Steering

  Committee, were added later. They also point out that they have already hired experts, and assert

  that their proposed structure with a large number of attorneys is necessitated by the alleged

  complexity of the litigation. Nowhere do they provide a reasoned basis for the alleged

  complexity of what Rule 23(g) Applicants assert is a relatively straightforward case. Indeed, a

  settlement with the FTC has already occurred. Regarding the accuracy of their grouping, the

  Grygiel Group lists a firm and its attorneys as part of their group, but they were not and are not.

  The inclusion of Donaldson & Guin, LLC, in the Grygiel Group’s Motion was erroneous.

  Donaldson & Guinn, LLC, did not join in or consent to the Grygiel’s Group’s Motion, but rather,

  supports Rule 23(g) Applicants’ Motion. See Exhibit L, email from John R. Wylie. In fairness to

  Mr. Grygiel, he acknowledged the erroneous inclusion and has agreed to correct it. See Exhibit

  M, email from Mr. Grygiel.



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         Furthermore, the Grygiel Group indicates that a number of their attorneys are competent

  trial attorneys. That proposition is not doubted, but it does not answer the question as to how

  many of those attorneys will be needed to try the case. They also emphasize that they were

  involved in preparing the Stipulation and Proposed Order Consolidating Cases for All Purposes,

  but, in fact, their involvement was offered up as an initial procedural effort where no one would

  use such involvement as a means to advance themselves with regard to the leadership issue. The

  very same gambit was employed by Strange & Carpenter in In Re Carrier IQ, Inc., Consumer

  Privacy Litigation, Case No. C-12-md-2330 (N.D. Calif.). Nevertheless, Judge Edward M. Chen

  selected a competing team of attorneys to serve as Interim Co-Lead Counsel. See id. at D.I. #100.

  Simply put, a procedural effort, largely form in content, put together with the understanding that

  it would not be touted for individual gain, should remain just that and not countenanced as a

  reason for appointment to a leadership position.

         The Grygiel Group also makes what appears to be an attempted preemptive strike on

  “Ben Barnow & Associates.” 5 See Grygiel Group Memorandum at n. 18. In actuality, the

  reference lacks accuracy. As Mr. Barnow’s resume and this motion for appointment indicate, any

  “argument” he would present as to why he should be in a “bigger leadership role” would not be

  limited to his data breach cases. The size and perceived inefficiency of the Grygiel Group’s

  proposed organization was expressly discussed. Also, it was discussed that there were other

  plaintiffs’ attorneys who felt that they should play a meaningful role in the advancement of the

  litigation and had the experience to justify such a role. It was expressly discussed as to how

  many great trial lawyers the case needed and the fact that, among others, no one in their group

  seemed to have as much experience as some of the other attorneys that were excluded.

  5
   The firm name is misstated by the Grygiel Group. The name of the firm is Barnow and
  Associates, P.C.
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           It was also specifically stated, understood, and agreed that the discussions were to remain

  between counsel and not culled and manipulated for use in leadership filings. In confirming that

  commitment, Mr. Grygiel used the word “absolutely” and Mr. Strange, also on the call, agreed.

  And, it is not just that the conversation is referenced, but rather, that it is referenced inaccurately

  in order to secure an advantage. Nonetheless, if it is viewed at all, it is perhaps viewed as a slip

  and is not suggested to be a disqualifier of any member of the Grygiel Group. It does perhaps,

  however, indicate an exclusivity and abandonment of the principles of Rule 23(g) that should be

  considered in any appointment in terms of approving counsel or a self-determined structure en

  masse.

           It is noteworthy that Mr. Harke’s firm was tasked, without the objection of any plaintiffs’

  counsel, with drafting the initial Order Regarding the Agreed Protocol for Discovery of

  Electronically Stored Information and a letter to Defendant regarding same. The task was

  completed. Yet, as it was offered without condition and in the unified interest of protecting the

  putative class’ interests, no separate advantage is sought from that volunteered task.

           Further, pursuant to the Court’s July 3, 2012 Order instructing counsel to immediately

  exchange certain information pursuant to Rule 26(a)(1), Rule 23(g) Applicants have served the

  initial disclosures of the Kreisman Plaintiffs on defense counsel. See MDL D.I. #12. However,

  based upon an alleged agreement made during a call on which members of the Grygiel Group

  (namely, Steve Grygiel and Brian Strange) spoke on behalf of plaintiffs for purposes of that call

  only, defense counsel has taken the position that initial disclosures should be delayed until after

  interim class counsel is appointed. See Exhibit N, emails between Blake A. Strautins and

  Anthony Weibell. Brian Strange of the Grygiel Group was copied on these emails and did not

  indicate any disagreement with Defendant’s position. It is, therefore, believed that the Grygiel


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  Group has not yet served their plaintiffs’ initial disclosures upon counsel for Defendant. Rule

  23(g) Applicants fought to obtain compliance with the Court’s July 3, 2012 Order, and did

  comply. It is likely the insistence of Rule 23(g) Applicants that Defendant also comply with the

  Court’s Order that finally brought about Defendant’s request for a modification of said Order.

  See MDL D.I. 29 (Defendant seeking to “suspend early disclosure requirements under Fed. R.

  Civ. P. 26(a) . . .”). It is axiomatic that court orders are to be followed and not set aside without

  further order of court because lawyers feel an order does not fit their view of the situation. That

  principal is ingrained in each of the Rule 23(g) Applicants and will continue to be diligently

  followed throughout this litigation.

         Rule 23(g) Applicants also sought dialogue and discussion so that the best group of

  available attorneys could be put forth for the Court’s consideration with a full consensus. A July

  31, 2012 meeting date was tentatively established, but the meeting as discussed did not occur, as

  the Grygiel Group chose to not go forward in that manner.

         Rule 23(g) Applicants seek to advance the interests of the plaintiffs and the putative Class

  with the experience, commitment, and efficiency that their histories show and efforts to date

  exhibit. Whether appointed as a three-way lead or as part of a group appointed by the Court,

  Rule 23(g) Applicants will comply with the requirements of Rule 23(g) and the orders of the

  Court with dedication and professionalism.


  IV.    CONCLUSION

         Wherefore, the Kreisman Plaintiffs respectfully request that Ben Barnow of Barnow and

  Associates, P.C., Lance A. Harke of Harke, Clasby & Bushman LLP, and Richard L. Coffman of

  the Coffman Law Firm (collectively, “Rule 23(g) Applicants”) be appointed Interim Co-Lead




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  Class Counsel or, in the alternative, that the Court select one or two attorneys from each moving

  group to be appointed Interim Co-Lead Class Counsel.

  Dated: September 7, 2012                  Respectfully submitted,



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                                        LIST OF EXHIBITS

  Barnow Resume                                                  Exhibit A

  Harke Resume                                                   Exhibit B

  Coffman Resume                                                 Exhibit C

  Tycko & Zavareei Resume                                        Exhibit D

  Ademi & O’Reilly Resume                                        Exhibit E

  Robinson Resume                                                Exhibit F

  Steward Resume                                                 Exhibit G

  Meyerkord Resume                                               Exhibit H

  Wylie Resume                                                   Exhibit I

  Bovay v. Sears class certification order                       Exhibit J

  Busse v. Motorola class certification order                    Exhibit K

  Email from John Wylie                                          Exhibit L

  Email from Mr. Grygiel                                         Exhibit M

  Emails between Blake Strautins and Anthony Weibell             Exhibit N




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on September 7, 2012, I electronically filed the foregoing with the
  Clerk of Court for the United States District Court for the District of Delaware by using the
  CM/ECF system. I certify that for all participants in the case that are registered CM/ECF users,
  service will be accomplished via the CM/ECF system, and for non-CM/ECF participants, service
  will be accomplished via U.S. Mail.




                                                      __/s/ Ben Barnow____

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